          Case NE/4:22-cv-03184 Document 3-1 Filed 09/19/22 Page 1 of 6




                       BEFORE THE UNITED STATES
              JUDICIAL PANEL ON MULTI-DISTRICT LITIGATION


                                                          MDL No. 3053
In re: Nelnet Servicing, LLC Data Security
Litigation


                                  CERTIFICATE OF SERVICE

        I, John A. Yanchunis, counsel for Plaintiff Robert Carlson hereby certify that on

September 19, 2022, I caused to be filed the foregoing electronically using the Court’s

electronic case filing (CM/ECF) system, which automatically generated and sent a notice of

electronic filing to the following e-mail addresses of all counsel of record, and on September

19, 2022, or served via U.S. mail on the following parties that have not yet appeared (as

indicated):

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          Case NE/4:22-cv-03184 Document 3-1 Filed 09/19/22 Page 2 of 6




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         Case NE/4:22-cv-03184 Document 3-1 Filed 09/19/22 Page 3 of 6




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         Case NE/4:22-cv-03184 Document 3-1 Filed 09/19/22 Page 4 of 6




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